JOHN H. FLACH, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Flach v. CommissionerDocket No. 12809.United States Board of Tax Appeals13 B.T.A. 383; 1928 BTA LEXIS 3257; September 14, 1928, Promulgated *3257  A man and a woman, not husband and wife, contributed in approximately equal proportions to the purchase of real estate in California, and erected buildings thereon.  Later they intermarried and some years thereafter they sold the property at a profit.  Held, this was not community property under the California law.  Hugo Platz, Esq., for the petitioner.  Clark T. Brown, Esq., for the respondent.  MARQUETTE *383  This proceeding is for the redetermination of a deficiency in income taxes asserted by the respondent for the year 1921 in the amount of $669.01.  The deficiency arises from the ruling of the respondent that certain real estate acquired by the petitioner and his wife prior to their marriage and sold by them after marriage, was community property at the time of sale.  FINDINGS OF FACT.  The petitioner is, and for many years has been, a resident of California.  In July, 1914, he and a Mrs. Annie Koch were married.  In 1912 Mrs. Koch and the petitioner each contributed about $2,000 to a fund with which they purchased two pieces of real estate in the City of Los Angeles, Calif.  As to one lot, Mrs. Koch's son, William Koch, paid one-half*3258  the down payment, and the deed to that lot was taken in the joint names of the petitioner and William Koch.  Subsequently, William Koch's interest was purchased, payment being made from the common fund, and the entire title placed in the petitioner.  The deed for the second lot was made to the petitioner alone.  The total cost of the two lots, $2,600, was entirely paid at the time of purchase.  The two lots were improved in 1913 and 1914 by the petitioner and Mrs. Koch; a bungalow costing $2,200 was built on one, and a four-family flat building costing $6,800 was put upon the other.  Five thousand eight hundred dollars of the building costs were raised by first mortgage on the two properties.  The mortgages were paid off from the rentals received.  The petitioner had a bank account in his own name.  In this were deposited Mrs. Koch's savings, from time to time, beginning some years before the property was purchased.  When she first gave him money to deposit the petitioner took her to the bank and gave her authority to draw checks, under the name of Mrs. Flach, against his *384  account.  This arrangement continued, unchanged; and after their marriage they both contributed*3259  to the common fund - the petitioner his earnings of $19 a week, which increased to $24 a week by 1918 or 1919, and Mrs. Flach her savings from a small business which she was conducting.  Out of this common fund were paid their living expenses, interest on and curtailments of the mortgages, etc.  Prior to their marriage, the petitioner made a will, devising one-half of the property to Mrs. Koch, so that her interest and investment would be protected in case of his death.  The two had orally agreed that the purchase of the property was to be on an equal share basis, both as to expenses and as to profits, if any were received.  In 1921 the real estate was sold at a profit of $9,200.  The petitioner and his wife made separate tax returns for that year, each reporting one-half the profit from the sale of the real estate.  In the returns the real estate was set down as community property.  The respondent determined the deficiency on the ground that in California community property is taxable to the husband.  OPINION.  MARQUETTE: The question here involved is whether the two pieces of real estate, purchased and improved by the petitioner and his wife before their marriage, were community*3260  property at the time of their sale in 1921.  The sections of the California Civil Code which are applicable are as follows: 161.  A husband and wife may hold property as joint tenants, tenants in common, or as community property.  162.  All property of the wife, owned by her before marriage, and that acquired afterwards by gift, bequest, devise or descent, with the rents, issues and profits thereof, is her separate property.  163.  All property owned by the husband before marriage, and that acquired afterwards by gift, bequest, devise or descent, with the rents, issues and profits thereof, is his separate property.  164.  All other property acquired after marriage by either husband or wife.  or both, * * * is community property.  * * * 853.  When a transfer of real property is made to one person, and the consideration therefor is paid by or for another, a trust is presumed to result in favor of the person by or for whom such payment is made.  55.  Marriage is a personal relation arising out of a civil contract, to which the consent of parties capable of making that contract is necessary.  Consent alone will not constitute marriage; it must be followed by a solemnization*3261  authorized by this code.  It is apparent, when we consider the facts of this proceeding in the light of the above statutes, that the property in question did not become community property at the time of its purchase.  In order *385  to create community property in California there must first be a valid, subsisting marriage.  See ; . This, then, was separate property at the time of the petitioner's marriage.  By the terms of the statute, sections 162 and 163, supra, it remained so.  The fact of marriage does not change the status of the property.  See ; . But, it is claimed by the respondent, some of the later payments reducing the amount of the mortgages were made after marriage, out of earnings of the petitioner; and these earnings were by the law of California, community property.  Granting that, we think it does not provide an alchemy sufficiently potent to change the status of the real estate.  The record shows that, although after marriage the petitioner's earnings and the rentals from the property in question were commingled in*3262  one bank account, and that possibly at times a little of his earnings may have gone toward paying for the property, yet this amount was very slight; it shows that his earnings were only $19 a week when he was married and they never increased beyond $24 a week; and that the living expenses of the petitioner and his wife used up practically all that he earned.  In ; , it was stated that where an inconsiderable amount of community funds became confused with separate funds, the community funds took on the character of the separate funds - the larger estate.  We think that is applicable here.  After the property was purchased in the name of the petitioner alone, and before the parties intermarried, the petitioner made a will, devising to Mrs. Koch one-half the property.  This fact, the respondent thinks, indicates that the petitioner considered the property as his own.  The record does not bear out this theory.  The petitioner testifies that he made the will so as to protect Mrs. Koch's interest in case of his death.  We think this is a reasonable explanation.  The parties were not then married; the title to the*3263  property was in the petitioner alone; if he died prior to their marriage, Mrs. Koch might have difficulty in proving her interest in the property.  The making of the will was the natural and logical act of a man who wished Mrs. Koch to have what was honestly due to her.  In our opinion this property belonged to the petitioner and his wife as separate estates; but, the entire title being in the petitioner, a trust resulted in favor of Mrs. Koch.  This status of the property continued after the owners had intermarried.  When the property was sold in 1921, a net profit of $9,200 was realized.  Petitioner and his wife each filed a return for that year, each returning as income $4,600, or one-half the net profit.  In each return the property was described as community property; under *386  Schedule C of the petitioner's return the total profit from the sale of the property is set out and one-half the amount is "credited to wife on separate return." Likewise, in the wife's return, under Schedule C, one-half the total profit is "credited to husband on separate return." Both returns are made out in the same handwriting; the signature sheets of the returns are not in the record.  We*3264  have, however, the writing of both petitioner and his wife on some checks, and it is very evident that neither one of them made out either tax return.  In any event, calling the property community property in the tax returns would not make it such, if, as we have seen, it was not community property under the law.  When the property was sold, it was the duty of the petitioner, as trustee for his wife, to turn over to her the net proceeds from her share of the property.  Apparently this was done.  There was, then, nothing upon which a deficiency could properly be based.  Reviewed by the Board.  Judgment will be entered for the petitioner.